      Case 2:18-cv-01290-WSS Document 179-1 Filed 08/13/20 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 KYKO GLOBAL, INC., a Canadian
 corporation, KYKO GLOBAL GmbH, a
 Bahamian corporation, PRITHVI
 SOLUTIONS, INC., a Delaware Corporation,          Civil Action No. 2:18-cv-01290-WSS

              Plaintiffs,
                                                    Electronically Filed
       v.

 PRITHVI INFORMATION SOLUTIONS,
 LTD, an Indian corporation, VALUE TEAM
 CORPORATION, a British Virgin Islands
 corporation, SSG CAPITAL PARTNERS I,
 L.P., a Cayman Islands Limited Partnership,
 SSG CAPITAL MANAGEMENT (HONG
 KONG) LIMITED, a private Hong Kong
 company, MADHAVI VUPPALAPATI, an
 individual, ANANDHAN JAYARAMAN, an
 Individual, SHYAM MAHESHWARI, an
 individual, IRA SYAVITRI NOOR A/K/A
 IRA NOOR VOURLOUMIS, an individual,
 DINESH GOEL, an individual, WONG
 CHING HIM a/k/a Edwin Wong, an
 individual, ANDREAS VOURLOUMIS, an
 individual, PRITHVI ASIA SOLUTIONS
 LIMITED, a Hong Kong company,

              Defendants.


                                  PROPOSED ORDER

      AND NOW, this __ day of ________, 2020, upon The SSG Defendants’ Emergency

Motion For A Status Conference To Schedule An Evidentiary Hearing On The Capacity Of PSI,

And The Standing Of Kyko, To Bring This Action (the “Motion”), IT IS HEREBY ORDERED,

ADJUDGED, AND DECREED that the Motion is GRANTED. Accordingly, it is hereby

ORDERED as follows:
       Case 2:18-cv-01290-WSS Document 179-1 Filed 08/13/20 Page 2 of 2




      The parties shall attend an emergency telephonic status conference to address the issues

identified in the Motion on ____________________, 2020, at __________.



Dated: ______________, 2020



                                                   United States District Judge
